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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



    COMMONWEALTH OF
    MASSACHUSETTS, et al.,
    Plaintiffs,
                                                          Civil Action No. 1:25-cv-10814-WGY
    v.

    ROBERT F. KENNEDY, JR., in his official
    capacity as Secretary of Health and Human
    Services, et al.,

    Defendants.


                                       NOTICE OF APPEAL

          Pursuant to Rule 4(a)(1) of the Federal Rules of Appellate Procedure, all defendants 1

hereby appeal to the United States Court of Appeals for the First Circuit from the order and

partial final judgment entered in this case on June 23, 2025, Doc No. 151, as well as from all

other interlocutory orders merged into that order and judgment.


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  Defendants Robert F. Kennedy, Jr., in his official capacity as Secretary of Health and Human
Services; United States Department of Health and Human Services; Jayanta Bhattacharya, in his
official capacity as the Director of the National Institutes of Health; National Institutes of Health;
National Cancer Institute; National Eye Institute; National Heart, Lung, and Blood Institute;
National Human Genome Research Institute; National Institute on Aging; National Institute on
Alcohol Abuse and Alcoholism; National Institute of Allergy and Infectious Diseases; National
Institute of Arthritis and Musculoskeletal and Skin Diseases; National Institute of Biomedical
Imaging and Bioengineering; Eunice Kennedy Shriver National Institute of Child Health and
Human Development; National Institute on Deafness and Other Communication Disorders;
National Institute of Dental and Craniofacial Research; National Institute of Diabetes and
Digestive and Kidney Diseases; National Institute on Drug Abuse; National Institute of
Environmental Health Sciences; National Institute of General Medical Sciences; National
Institute of Mental Health; National Institute on Minority Health and Health Disparities; National
Institute of Neurological Disorders and Stroke; National Institute of Nursing Research; National
Library of Medicine; National Center for Advancing Translational Sciences; John E. Fogarty
International Center for Advanced Study in the Health Sciences; National Center for
Complementary and Integrative Health; and Center for Scientific Review.
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                                  Respectfully submitted,

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                                  Assistant Attorney General

                                  LEAH B. FOLEY
                                  United States Attorney

                                  KIRK T. MANHARDT
                                  Director

                                  MICHAEL J. QUINN
                                  Senior Litigation Counsel

Dated: June 23, 2025              /s/ Thomas W. Ports, Jr.

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                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

       Dated: June 23, 2025                                   /s/ Thomas W. Ports, Jr.
                                                              Thomas W. Ports, Jr.




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